
Green, J.
delivered the opinion of the court.
This is an 'action of debt upon a promissory note executed by Bell &amp; Thompson to Thomas Crutcher, and by said Crutcher endorsed to the plaintiff. The suit is brought against Thompson, the surviving partner, and Henry Crutcher, administrator of Thomas Crutcher, deceased.
It insisted by the plaintiffs in error, that a joint action-of debt will not lie against one of the makers only, and the endorser.
By the act of 1820, ch. 55, a joint action of debt was given against the maker and endorsers of a writing obligatory; and by the act of 1837, ch. 5, the endorser is authorized to prosecute a joint action against any two or more endorsers, or at Ms election, against the maker or makers of any foreign or inland bill of exchange, promissory note, or writing obligatory, and one or more of the endorsers thereof.
*406This court has held, that by this statute, an action of debt may be prosecuted jointly against the maker and endorsers of a promissory note or bill of exchange.
But it is now insisted, that the statute must be construed strictly; and that the terms “maker or makers,” as used, means-that all the makers must be joined with the endorsers, or that the action cannot be maintained.
We think, a fair construction of the statute is, that the holder may sue, jointly, any two or more of the parties to the paper, at his election, whether they be makers or endorsers, or-one of the makers, and one of the endorsers. The whole frame of the act, indicates this intention'; and it would be doing violence to the meaning of the legislature, to construe the word “maker,” to be restricted to those cases only, where there-is but one maker.
Affirm the judgment.
